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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

 UNITED STATES OF AMERICA,

                                Plaintiff

 v.                                                     Case No. 3:19-CR-00019-BJB-RSE

 BRYAN DOUGLAS CONLEY,

                                Defendant.

______________________________________________________________________________

                                    ORDER
______________________________________________________________________________

       This matter is before the Court on Defendant Bryan Douglas Conley’s Motion in Limine

to Exclude Certain Text Messages. [R. 142.] The Court being sufficiently advised,

       IT IS HEREBY ORDERED as follows:

       1.      Defendant Conley’s Motion in Limine to Exclude Certain Text Messages [R. 142]

is GRANTED;

       2.      The government is hereby prohibited from introducing the substance of the text

messages allegedly sent by Mr. Conley to K.C. and Elizabeth Heather Glass; the text messages

are hereby excluded from a trial in this matter.

       This the ____ day of ____________, 20___.
